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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 GARY LIN, individually and on behalf of
 all others similarly situated,                  Case No. 2:19-cv-11889-VAR-APP


                     Plaintiff,                  PLAINTIFF’S RESPONSE TO
                                                 ORDER TO SHOW CAUSE

       v.

 CRAIN COMMUNICATIONS INC.,


                     Defendant.

      Plaintiff Gary Lin, individually and on behalf of all others similarly situated,

submits this response to the Court’s Order for Plaintiff to Show Cause entered on

July 8, 2019 (ECF No. 5 (the “OSC”)).

      On June 25, 2019, Plaintiff initiated this action with a Class Action Complaint

(“Complaint” or “Compl.”), which invoked the Court’s original subject-matter

jurisdiction pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C.

§ 1332(d) (Compl. ¶ 15). In the Complaint, Plaintiff, a citizen of Virginia (id. ¶ 13),

brings claims against Defendant, a citizen of both Michigan (id. ¶ 14) and Delaware

(as alleged in the operative First Amended Class Action Complaint, discussed

below), for violation of Michigan’s Preservation of Personal Privacy Act and unjust

enrichment, on behalf of himself and over 100 other similarly-situated individuals,

at least one of whom is a citizen of a state different from Defendant (id. ¶ 15).
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Plaintiff seeks individual and class-wide damages that exceed $5,000,000 in the

aggregate for each of his two claims, among other forms of relief (id. ¶¶ 15, 88, 101;

see also id. at 36 (“Prayer for Relief” section of Complaint)).

      On July 8, 2019, the Court issued the OSC, ordering Plaintiff to show cause

by July 12, 2019 why this action should not be dismissed for lack of subject-matter

jurisdiction pursuant to Federal Rule of Civil Procedure 12(h)(3). (ECF No. 5 at 2

(“Because Plaintiff fails to properly allege the citizenship of Defendant, he has not

established that complete diversity exists under § 1332.”).)

      On July 11, 2019, together with the instant response to the OSC, Plaintiff filed

the operative First Amended Class Action Complaint (ECF No. 6 (the “FAC”))

pursuant to Federal Rule of Civil Procedure 15(a)(1)(A). The FAC contains the

following revised allegations concerning Defendant’s citizenship:

                   Defendant Crain Communications Inc. is a multi-
             industry publishing conglomerate. Crain is incorporated in
             Delaware and maintains its corporate headquarters and
             principal place of business at 1155 Gratiot Ave, Detroit,
             Michigan 48207-2732.           Crain publishes several
             nationally-circulated publications, including Autoweek,
             Automotive News, Advertising Age, Modern Healthcare,
             Crain’s Cleveland Business, Crain’s Chicago Business,
             Crain’s Detroit Business, Investment News, Pensions &
             Investments, Plastics News, Tire Business, and Plastics
             News, among several others. Crain does business
             throughout Michigan and the United States.
(FAC ¶ 14 (emphasis added); compare id. with Compl. ¶ 14.)

      Thus, the FAC specifically alleges Defendant’s states of incorporation and

principal place of business (FAC ¶ 14), each of which is different from the state of


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citizenship of at least one member of the proposed nationwide class defined in the

FAC (including Plaintiff, a citizen of Virginia) (see FAC ¶ 15). Accordingly, the

parties’ citizenship is sufficiently diverse to support the Court’s exercise of original

subject-matter jurisdiction pursuant to CAFA. See 28 U.S.C. § 1332(d)(2)(A).1

Dated: July 12, 2019                    Respectfully submitted,

                                        GARY LIN,

                                        By: /s Frank S. Hedin
                                        One of Plaintiff’s Attorneys

                                        Frank S. Hedin
                                        fhedin@hedinhall.com
                                        David W. Hall*
                                        dhall@hedinhall.com
                                        HEDIN HALL LLP
                                        1395 Brickell Avenue, Suite 900
                                        Miami, Florida 33131
                                        Tel: 305.357.2107
                                        Fax: 305.200.8801

                                        Joseph I. Marchese
                                        jmarchese@bursor.com
                                        Philip L. Fraietta
                                        pfraietta@bursor.com
                                        BURSOR & FISHER, P.A.
                                        888 Seventh Avenue
                                        New York, New York 10019
                                        Tel: 646.837.7150
                                        Fax: 212.989.9163

                                        Nick Suciu III

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       CAFA’s amount-in-controversy requirement, see id. § 1332(d)(2), is also
satisfied by the allegations of the FAC. (See FAC ¶ 15 (alleging that the damages
suffered by the proposed class exceed $5 million in the aggregate).)
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                                  nicksuciu@bmslawyers.com
                                  BARBAT, MANSOUR & SUCIU PLLC
                                  1644 Bracken Road
                                  Bloomfield Hills, Michigan 48302
                                  Tel: 313.303.3472
                                  *Application for Admission Forthcoming

                                  Counsel for Plaintiff Gary Lin




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